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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                             Case No. 12-20372
v.
                                             Hon. John Corbett O’Meara
CARL WASHINGTON,

     Defendant.
____________________________/

                         ORDER DENYING MOTION
                         TO DISMISS INDICTMENT

      Defendant Carl Washington, appearing pro se for the purpose of this motion,

filed a motion to dismiss the indictment. See Docket Nos. 414-15. Defendant

contends that the criminal complaint and arrest warrant were issued without

probable cause, forged, and are invalid because they are located on a separate

docket (see Case No. 12-30470). The court finds nothing amiss or unusual about

the complaint and arrest warrant, which are supported by an affidavit presenting

ample probable cause. Further, any alleged defect in the complaint or arrest

warrant was remedied by the Second Superseding Indictment, filed August 8,

2012, which also establishes probable cause. See Denton v. U.S., 465 F.2d 1394,

1395 (5th Cir. 1972) (“[T]he grand jury indictment of Denton following his arrest

remedied any defect in the complaint and arrest warrant.”); Higgason v. Stephens,
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288 F.3d 868, 877 (6th Cir. 2002) (“[I]t has long been settled that ‘the finding of an

indictment, fair upon its face, by a properly constituted grand jury, conclusively

determines the existence of probable cause for the purpose of holding the accused

to answer.’”).

      Defendant also argues that the length of his detention pending trial amounts

to a due process violation. The court notes that Defendant consented to detention

and has entered into multiple stipulations to adjourn trial, most recently to continue

plea negotiations and to contend with voluminous discovery. See Docket No. 416.

Moreover, Defendant has not shown that the length of his detention warrants

dismissal of the indictment, as opposed to reconsideration of his detention pending

trial. With trial scheduled for June 13, 2017, the court finds no basis for such

reconsideration at this time.

      For these reasons, IT IS HEREBY ORDERED that Defendant’s motion to

dismiss the indictment is DENIED.



                                        s/John Corbett O’Meara
                                        United States District Judge

Date: May 8, 2017


      I hereby certify that a copy of the foregoing document was served upon
counsel of record on this date, May 8, 2017, using the ECF system.

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                                    s/William Barkholz
                                    Case Manager




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